Name   and address:
     Case   8:18-cv-01753-DOC-ADS                         Document 16 Filed 10/03/18 Page 1 of 1 Page ID #:49
Steven L. Woodrow
3900 E. Mexico Ave.
Suite 300
Denver, Colorado 80210




                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER
Antoinette Herrera, et al.
                                                                                               8:18-cv-01753-DOC-ADS
                                                              Plaintiff(s)
                                       v.
                                                                                      ORDER ON APPLICATION OF NON-
Soothe, Inc., a Delaware corporation
                                                                                    RESIDENT ATTORNEY TO APPEAR IN A
                                                           Defendant(s).              SPECIFIC CASE PRO HAC VICE [13]
 The Court, having determined whether the required fee has been paid, and having reviewed the
 Application of Non-Resident Attorney to Appear in a Specific Case Pro Hae Vice filed by
Woodrow, Steven L.                                                            of Woodrow & Peluso, LLC
Applicant's Name (Last Name, First Name & Middle Initial)                        3900 E. Mexico Ave., Suite 300
720-213-0675                   303-927-0809                                      Denver, Colorado 80210
Telephone Number          Fax Number
swoodrow@woodrowpeluso.com
                 E-Mail Address                                                   Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
Antoinette Herrera



 Name(s) of Party(ies) Represented                                           � Plaintiff(s) D Defendant(s) D Other:
 and designating as Local Counsel
 Aftergood, Aaron D.                                                           of The Aftergood Law Firm
 Designee's Name (Last Name, First Name & Middle Initial)                         1880 Century Park East, Suite 200
                         310-551-5221         310-496-2840                        Los Angeles, California 90067
      239853
 Designee's Cal. Bar No.        Telephone Number          Fax Number
 aaron@aftergoodesq.com
                       E-Mail Address                                              Firm/Agency Name & Address

  HEREBY ORDERS THAT the Application be:
  D
  x GRANTED.
  D DENIED: D for failure to pay the required fee.
            D for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
            D for failure to complete Application:
            D pursuant to L.R. 83-2.1.3.2: D Applicant resides in California; D previous Applications listed indicate Applicant
              is regularly employed or engaged in business, professional, or other similar activities in California.
            D pursuant to L.R. 83-2.1.3.4; Local Counsel: D is not member of Bar of this Court; D does not maintain office in District.
                      D because      ---------------------------------­
   IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: 0 be refunded                                      O not be refunded.
  Dated          October 3, 2018
                                                                                       DAVID O. CARTER, U.S. District Judge
 G-64 ORDER (5/16)         ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE               Page 1 of 1
